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                                IN THE UNITED STATES DISTICT COURT
                                     FOR THE DISTICT OF KANSAS

Robert M. Brown,                                 )
                                                 )
                   Plaintiff,                    )
                                                 )       Case No. 10-CV-2606 JTM/GLR
          v.                                     )
                                                 )       Electronically filed on 05/09/11
KVC Behavioral Healthcare Inc. et al.            )
                                                 )
                   Defendants                    )

         PLAINTIFF ROBERT M. BROWN’S MOTION TO STRIKE PORTIONS OF
        DEFENDANT THE UNIVERSIY OF KANSAS SCHOOL OF LAW’S ANSWER
             TOGETHER WITH SUGGESTIONS IN SUPPORT OF MOTION

          Plaintiff Robert M. Brown respectfully submits this Motion To Strike Portions of

   Defendant The University of Kansas School of Law’s Answer, and in support of his motion,

   states as follows:

                                           BACKGROUND

          Plaintiff Robert M. Brown filed this action on November 9th, 2010, alleging unlawful

   interference with his constitutionally protected procedural and substantive due process rights in

   his liberty and contractual property interests in his continued enrollment at the University of

   Kansas School of Law (Defendant). On May 4th, 2011, Defendant filed its Answer (Def.’s

   Answer)(Doc. 24).




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                             ARGUMENTS AND AUTHORITIES

                  Defendant’s Answer Fails to Comport With Federal Rules

       1. The Standard of Review

       In responding to a pleading, the responding party must admit or deny the allegations

asserted against it. Fed.R.Civ.P. 8(b)(1)(A). Any denial must “fairly respond to the substance of

the allegation.” Fed.R.Civ.P. 8(b)(2).

       “A party that intends in good faith to deny all the allegations of a pleading – including

jurisdictional grounds – may do so by a general denial. A party that does not intend to deny all

the allegations must either specifically deny designated allegations or generally deny all except

those specifically admitted. Fed.R.Civ.P. 8(b)(3)(Emphasis Added).

       Allegations are admitted if a responsive pleading is required and the allegations are not

denied, with the exception of allegations relating to the amount of damages. Fed.R.Civ.P.

8(b)(6).

       Fed.R.Civ.P. 12(f) provides that “[t]he court may strike from a pleading an insufficient

defense or any [] immaterial [] matter.”

       2.       Defendant’s Answer Ignores the Numerous Mandates of Rule 8(b)

       Plaintiff Brown’s complaint contains Two Hundred Seventy Six paragraphs of allegations

of facts, including jurisdictional grounds. (Compl. pp. 1-42, ¶¶ 1-276) By way of answer,

Defendant states, under the guise of a “General Denial”, only that “The University of Kansas

School of Law is not a person or separate legal entity capable of suing or being sued, and

therefore denies each and every allegation contained in plaintiff’s complaint.” (Def.’s Mot.

Attach. #2, p. 1)(Doc. 12 Attach. #2, p. 1).




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       By doing so, Defendant denies (among many other things) that Plaintiff and all individual

defendants are natural persons (Compl. pp. 1-2, ¶¶ 10, 13-16), that Brown has provided correct

information regarding the identities and capacities of the members of the Kansas Board of

Regents (Compl. pp. 4-5, ¶¶ 17-26), all Brown’s allegations of fact pertaining to the School of

Law’s system of Government including the accuracy of verbatim quotes from published law

school policies (Compl. pp. 7-10, ¶¶ 37-55), and that “[d]efendant The University of Kansas

School of Law is a public School of Law within the University of Kansas.” (Compl. pp. 3, ¶ 12).

       Despite denial of paragraph 12 of Plaintiff Brown’s complaint, Defendant then goes on to

cite that paragraph with total agreement in the first three paragraphs of its Motion to Dismiss

(Def.’s Mot. Attach. #1, p.1, ¶¶ 1-3 )(Doc. 12 Attach. #1, p.1, ¶¶ 1-3).

       Rather than actually attempt to admit or deny the allegations asserted against it

(Fed.R.Civ.P. 8(b)(1)(A)) in an even handed way which is intended to “fairly respond to the

substance of the allegation[s]” (Fed.R.Civ.P. 8(b)(2)), Defendant has simply decided that it has

already prevailed on its motion to dismiss, and has accordingly unburdened itself of the

requirements of Rule(8)(b). By failure to admit even the indisputable, Defendant flauts the

requirements of Fed.R.Civ.P. 8(b)(3) which relate to general denials as well.

       3.    Defendant has been placed on notice of the deficiencies in its answer, and has
had four months within which to correct them.

       In Brown’s Response to Defendant’s Motion for Leave to File Out of Time Answer (Doc.

13) which was filed on January 3rd, 2011, substantially the same pleading deficiencies as noted

above were brought to the attention of Defendant. Defendant had approximately four months to

propose amended pleadings containing admissions and denials which fairly respond to the

substance of Brown’s allegations, but instead chose to stand on its general denial which

references its dispositive motion and deals not at all with the substance of Brown’s allegations.

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Defendant has improperly ignored its obligation to respond. Defendant’s general denial is both

insufficient and immaterial as a response to the allegations contained within Brown’s complaint,

and should be stricken per Fed.R.Civ.P. 12(f).


       4.       Conclusion

       In one oft quoted case from the Northern District of Illinois, Senior District Judge Milton

Shadur encountered a situation in which the defendant failed to provide any meaningful answer

which dealt fairly with the substance of thirty out of thirty-five allegations, stating instead

“[n]either admit nor deny the allegations of said Paragraph-, but demand strict proof thereof”.

King Vision Pay Per View, Ltd. v. J.C. Dimitri's Rest., Inc., 180 F.R.D. 332, 332 (N.D.Ill. 1998).

Judge Shadur vented in his now famous opinion:

       This is it. For too many years and in too many hundreds of cases this Court
       has been reading, and has been compelled to order the correction of,
       allegedly responsive pleadings that are written by lawyers who are either
       unaware of or who choose to depart from Rule 8(b)'s plain roadmap. [] This
       Court's efforts at lawyer education through the issuance of repeated brief
       opinions or oral rulings, or through faculty participation in seminars and
       symposia on federal pleading and practice,FN4 have proved unavailing. It
       is time for this Court to follow the Rules itself, in this instance Rule 8(d)[.]
       Accordingly all of the allegations of Complaint ¶¶ 6-12, 17, 25-26 and 33-
       34 are held to have been admitted by Dimitri's and Chelios, and this action
       will proceed on that basis. And although the same phenomenon referred to
       in n. 4 probably makes it quite unlikely that the lawyers who are most
       prone to commit the same offense will be lawyers who are regular (or even
       sporadic) readers of F.Supp. or F.R.D., this opinion is being sent to West
       Publishing Company for publication. Future Rule 8(b) violators are hereby
       placed on constructive notice that their similarly defective pleadings will
       encounter like treatment.

King Vision, 180 F.R.D. at 333-34

       At least in King Vision, the Defendants admitted that which could not be denied. Here,

Defendant has admitted zero out of two-hundred-seventy-six allegations of fact, and then gone

on to base its motion to dismiss on its own stated correctness of one of the very facts it denies.

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       Defendant’s general denial suffers from a complete lack of any meaningful effort to

respond fairly or otherwise to the allegations contained within Brown’s complaint. As such, this

portion of the answer should be stricken pursuant to Fed.R.Civ.P. 12(f), and the allegations in

paragraphs 1 through 276 should be deemed admitted for the pendency of this litigation pursuant

to Fed.R.Civ.P. 8(b)(6).

                                        CONCLUSION

       For the foregoing reasons, Plaintiff Brown respectfully requests that this Court strike

Defendant’s General Denial from its answer, that the allegations in the complaint be deemed

admitted, and for such other and further relief as this Court may deem just and proper.




                                             Respectfully submitted,

                                             Robert M. Brown




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                                 CERTIFICATE OF SERVICE

   The undersigned hereby certifies that on this 9th day of May, 2011, the above and foregoing
was electronically filed with the United States District Court for the District of Kansas using the
CM/ECF system and was sent via email to the following:

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                                                     /s/ Robert M. Brown____________
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